Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 1 of 13 PageID# 22164




                           Exhibit 12
                Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 2 of 13 PageID# 22165
    From:                                              Rob Rosette </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                                                       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=4EA335FB493D4964B92B0395C04F0C63-ROB
                                                       ROSETTE>
    To:                                                Nicole St. Germain; Karrie Wichtman; 'flint@whetstoneedge.biz'
    Sent:                                              8/24/2011 5:28:43 AM
    Subject:                                           Fw: Tasks for Oct 1 Launch
    Attachments:                                       PepperCash_NEW_Loan_Agreement.docx


!                                                                                                                                                                                                                                                        i

i                                                                                                        Redacted                                                                                                                                        !
(_______________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________ i



    From: mattmrii bellicosevi.com [mailto :mattmrii bellicosevi.com]
    Sent: Tuesday. August 23. 2011 09:50 PM
    To: Rob Rosette: flintri,wsedge.biz <flintri,wsedge.biz>
    Cc: Scott Merritt <smerritt!i1answersetc.com>
    Subject: Tasks for Oct l Launch

    Perhaps the most efficient option \\Ould then be for Rob to help educate my counsel so they can get that done for me. I
    believe they'll be \\orking on this next \\eek.

    For the Tribal entity. is it an LLC or Corp? I like the name Red Rock Tribal Cash, LLC ( or Corp).

    In the meantime. I plan to have the draft documents done by end of\\eek. and then sent to Ryan Bloom for finalization next
    \\eek. After that Ryan \\ill send them off to you guys ,veek of the 5th for execution on/around September 15 ,vith an
    October l effective date/go live date.

    Tasks for Rob:
    *I have attached the current consumer loan agreement for the portfolio. I understand you ,vill need to redline this for the
    Tribal Lender and ,ve ,vill have it put in place in the LMS beginning Oct 1. The current version has a lot of elements in it
    specific to the international structure.
    *Please also revie,v and edit the privacy policy of the ,vebsite. as ,vell as the footer on each ,vebpage. and the terms &
    conditions of the ,vebsite so that those may be updated Oct l as ,vell:
    A) https://,v,v,v.peppercash.com/privacv policv.html
    B) https://,,,,,,.peppercash.com/terms of \\ebsite use.html
    C) This web site's contents do not signify a solicitation or offer for check advances in all states. Areas of
    operation may change with or without notice. Services mentioned on this site may or may not be available in
    your particular state. Each aspect of, communication, and transaction, with/on this site will be deemed to have
    occurred in PepperCash.com's Costa Rica offices, regardless of the location where you are accessing or viewing
    this site. The borrower is responsible for observing any local statutory requirements that may exist in their state
    or area with respect to any transactions with PepperCash.com. All content, existing and/or submitted to and in
    association with this site will be considered PepperCash.com's copyrighted property. All communications with
    the company are deemed confidential. Any unauthorized reproduction, distribution, or disclosure is prohibited
    without the company's express written consent.
    *Please revie\\ the PepperCash.com \\ebsite in its entirety for any changes the Tribe requires
    *I ,,ill later get the email templates and disclaimers ,vithin them over to you as \\ell for your edits on all communications
    there
    *Please let me lrno,v if there are any services. or notifications. or procedures that the tribe ,,ants to explicitly have
    performed or anything else not mentioned

    Hopefully you can take ,vhatever steps are necessary to complete formation. and secure ACH and bank account so they are
    all set to go come October 1st.

    What else can I help you ,vith in the meantime')

    Regards,



CONFIDENTIAL                                                                                                                                                                                                                       ROS002-0000681
         Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 3 of 13 PageID# 22166
 Matt Martorello
 Mobile: 773-209- 7720




 From: Rob Rosette [mailto:rosetteri,rosettelaw.com]
 Sent: Tuesday. August 23. 2011 8:-1-1 PM
 To: flintri,wsedge.biz: mattmri, bellicosevi.com
 Cc: Scott Merritt
 Subject: RE: Opinion Letter

 Flint

 That is correct. My insurance coverage \\ill only cover opinions rendered to my Tribal clients.

 Thanks.

 Robert A. Rosette
 Rosette, LLP
 Attorneys at Law
 565 W. Chandler Blvd., Suite 212
 Chandler, Arizona 85225
 Tel (480) 889-8990
 Fax (480) 889-8997
 Cell (480) 242-9810
 www.rosettelaw.com

 CONFIDENTIAL COMMUNICATION: THIS MESSAGE IS A CONFIDENTIAL ATTORNEY COMMUNICATION ONLY FOR
 USE BY THE INTENDED RECIPIENT. ANY INADVERTENT RECEIPT SHALL NOT CONSTITUTE A WAIVER OF
 ATTORNEY-CLIENT OR WORK PRODUCT PROTECTION. IF RECEIVED IN ERROR. PLEASE NOTIFY THE SENDER
 IMMEDIATELY AND DELETE THIS MESSAGE.



 From: Flint Richardson [mailto:flint!i,wsedge.biz]
 Sent: Tuesday. August 23. 2011 5:03 PM
 To: mattmri, bellicosevi.com
 Cc: Rob Rosette: Scott Merritt
 Subject: Re: Opinion Letter

 Matt - since Rob isn't your legal counsel it wouldn't be permissible for him to issue you an opinion. He could
 work with your counsel on the support needed for them to issue the opinion you require. Rob - correct me if I am
 wrong here. Thanks.

 Sent via BlackBerry by AT&T

 From: "mattm@bellicosevi.com" <mattm@bellicosevi.com>
 Date: Tue, 23 Aug201123:54:47+0000
 To: Flint Richardson<flint@wsedge.biz>
 Cc: Rob Rosette<rosette@rosettelaw.com>; smerritt@answersetc.com<smerritt@answersetc.com>
 Subject: Opinion Letter


 Rob, would you be able to provide an opinion letter to Bellicose simply stating that the entire model and



CONFIDENTIAL                                                                                            ROS002-0000682
         Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 4 of 13 PageID# 22167
 relationships throughout do not equate to the tribe being an agent of Bellicose or any of it's owners or any of our
 other entities involved. This would be very valuable to us in case one day the IRS were to challenge that the
 tribe is simply an agent. This negates any fee associated with such an event should it ever occur.



 On Aug 22, 2011, at 9:36 AM, "Flint Richardson" <flint@wsedge.biz> wrote:

 Sounds good Matt. We look fornard to it. In the meantime not sure if you and Scott have talked through technology or the
 operating account structure but \\e should ,rnrk on that as \\ell soon.

 Flint


 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I

 <image002.j pg>
 **************************************************************************************************************'
 This e-mail message maY contain legally priYileged and or confidential information. If you are not the intended recipient(s). or the emploYee or agent
 responsible for deliYerY of this message to the intended recipient(s). You are hereby notified that any dissemination. distribution or copYing of this
 e-mail message is strictly prohibited. If you haYe receiYed this message in error. please immediately notify the sender and delete this e-mail message
 from Your computer.

 IRS CIRCULAR 230 DISCLOSURE: To ensure compliance \Yith Treasury Department regulations. \Ye inform You that any U.S. federal tax adYice
 contained in this correspondence (including any attachments) is not intended or \Hitten to be used. and cannot be used. for the purpose of (i) aYoiding
 penalties that may be imposed under the U.S. Internal ReYenue Code or (ii) promoting. marketing or recommending to another party any transaction or
 matter addressed herein.



 From: Matt Ma1iorello [mailto:mattmri,bellicose,i.com]
 Sent: Monday. August 22. 2011 7:21 AM
 To: Flint Richardson: Rob Rosette: smerrittriians,,ersetc.com
 Subject: RE: Next Steps

 I agree. I'd like to get the legal documents all completed and ready for signatures ASAP. Then on that week in Sept. we can execute the
 agreements with an Oct l launch date.


 From: Flint Richardson [flintrilwsedge.biz]
 Sent: Monday. August 22. 2011 8:50 AM
 To: Matt Ma1iorello: Rob Rosette: smerrittrilanswersetc.com
 Cc: mmaiiorelloriiapriorisolutions.com
 Subject: RE: Next Steps

 That \\Ould be possible Matt. Ho\\ever. I believe that \\e should have agreements finalized and have the meeting coincide
 \\ith the execution of documents. Since you have outside legal counsel in Dela\\are and Michigan I believe that \\e should
 \\Ork \\ith them in order to get a full set of documents that \\ill be acceptable hainmered out as soon as possible. To the
 extent that your counsel desires to revie\\ the lending ordinance. regulatory fraine\\ork and tribal limited liability ordinance
 \\e can \\Ork \\ith them so that they are comfortable that all of structural components of the deal are in fact in place \\ith
 appropriate resolutions.

 Let me Imo\\ \\hat you think about this approach.

 Flint


 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I


CONFIDENTIAL                                                                                                                              ROS002-0000683
          Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 5 of 13 PageID# 22168

 <image003.j pg>
 **************************************************************************************************************'
 This e-mail message may contain legallY priYileged and or confidential information. If you are not the intended recipient(s). or the emploYee or agent
 responsible for deli Yer:, of this message to the intended recipient(s). You are herebY notified that any dissemination. distribution or copYing of this
 e-mail message is strictlv prohibited. Ifvou have received this message in error. please immediatelv notifv the sender and delete this e-mail message
 from Your computer.

 IRS CIRCULAR 230 DISCLOSURE: To ensure compliance \Yith Treasury Department regulations. \Ye inform You that any U.S. federal tax advice
 contained in this correspondence (including any attachments) is not intended or \Hitten to be used. and cannot be used. for the purpose of (i) aYoiding
 penalties that may be imposed under the U.S. Internal Revenue Code or (ii) promoting. marketing or recommending to another party any transaction or
 matter addressed herein.



 From: Matt Ma1iorello [mailto:mattmri,bellicosevi.com]
 Sent: Monday. August 22. 2011 6:-1-6 AM
 To: Matt Ma1iorello: Rob Rosette: 'flintri,wsedge.biz': 'smerrittri,answersetc.com'
 Cc: 1nuna1iorellori,apriorisolutions.com1
 Subject: RE: Next Steps

 Can we schedule a day on the week of 9/12 - 9/16 to meet the Tribe in the UP?

 From: Matt Ma1iorello
 Sent: Saturday. August 20. 2011 8:-1-0 AM
 To: Rob Rosette: 'flint!iiwsedge.biz': 'smerrittriianswersetc.com'
 Cc: 1nuna1iorelloriiapriorisolutions.com1
 Subject: RE: Next Steps

 OK. maybe we can coordinate a UP trip to all get together when we do a site meet and greet with the Tribe. Preferably before the very
 rough winters up there begin.

 Thanks and enjov the weekend.




 From: Rob Rosette [rosetterdrosettelaw.com]
 Sent: Sahirdm. August 20. 2011 8:21 AM
 To: Matt Maiiorello: 'flintriiwsedge.biz': 'smerrittrdanrnersetc.com'
 Cc: 1mmaiiorello 1dapriorisolutions.com1
 Subject: Re: Next Steps

 Hi Matt. I'm in the U.P. We are quite far mvav from each othec but othernise I \\Ould have loved to meet vou!

 From: Matt Maiiorello [mailto:mattnvdbellicosevi.com]
 Sent: Saturdm. August 20. 2011 06:17 AM
 To: flintrd\\sedge.biz <flintrdwsedge.biz>: Scott Merritt <smerrittrdanrnersetc.com>
 Cc: nunaiiorellordapriorisolutions.com <mmaiiorellordapriorisolutions.com>: Rob Rosette
 Subject: RE: Next Steps

 Rob? I'll be staving at the Campus Inn in Ann Arbor tonight and to the race in Brookh n tomorro,v. Are mu am" here nearbv?




 From: Flint Richardson [flintrd\\sedge.biz]
 Sent: Sahirdm. August 20. 2011 7:-J.8 AM
 To: Matt Maiiorello: Scott Merritt
 Cc: nunaiiorellordapriorisolutions.com: Rob Rosette



CONFIDENTIAL                                                                                                                               ROS002-0000684
          Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 6 of 13 PageID# 22169
 Subject: Re: Next Steps

 Rob is in Michigan as well - perhaps you gents could meet if you are in proximity?

 Sent via BlackBeny by AT&T




 From: Matt Martorello <mattm@bellicosevi.com>
 Date: Sat, 20 Aug 2011 11:47:08 +0000
 To: Scott Merritt<smerritt@answersetc.com>
 Cc: mmartorello@apriori solutions. com <mmartorell o@apri ori solutions. com>;
 flint@wsed ge. biz<flint@wsed ge. biz>; rosette@rosettelaw.com <rosette@rosettelaw.com>
 Subject: Re: Next Steps

 Sounds great. I'll be up in Michigan this weekend for the NASCAR race and back on island Wed night. I do have
 additional questions to clarify some other details when I started reading docs again a few days ago. Maybe we
 can keep moving forward with docs to complete things ASAP and have a call Thursday morning to go over
 status and additional questions?



 On Aug 20, 2011, at 12:35 AM, "Scott Merritt" <smerritt@answersetc.com> wrote:



 Good to hear from ,ou: glad to hear you're making headway on ,our tax situation. We can appreciate how critical that component is to
 ,our model.

 The good news is the tribe is read,. and we'd be glad to arrange a ,isit at ,our com enience. The, are read, to go Ii\ e toda,.

 We can drill dmn1 to a much more granular leYel regarding the origination from the tribe on our next call - "e\·e only provided a
 high-le,el outline in our documentation. so we can ce1iainh clarify the process.

 Additionall,. we can discuss the banking and assignment issues when we tall.;:.

 I belie,e Flint ma, be trm eling Monda,/Tuesda,. but should be able to accommodate most da,s/times. Let us know what worl.;:s best
 for,ou.

 Ha,e a good weekend - I'm sure that's fairly eas, to do. considering ,our location. Flint and I might hm e to trm el down ,our wa, for
 official business at some point!



 -Scott




 From: Matt Maiiorello <mmaiiorellordapriorisolutions.com>
 To: Flint Richardson <flintriiwsedge.biz>
 Cc: Scott Merritt: Rob Rosette <rosette1drosettelm,.com>
 Sent: Fri Aug 19 20:01:0-1- 2011
 Subject: Re: Next Steps
 Hey Flint, how's it coming along? I plan to get my tax opinion letter back on Tuesday, and I told them I wanted


CONFIDENTIAL                                                                                                                   ROS002-0000685
         Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 7 of 13 PageID# 22170
 to have all of this completed within 2 weeks.

 -Is the tribe ready to go live?
 -I wanted to talk about the detail of origination occurring at the tribe
 -I'd love to make a visit to their facility in the near future as well.
 -wanted to discuss operating bank account activity
 -do you have assignment contracts
 -it sounds like we may transfer this over and then launch a new one, and nm returning only on the current one
 after #2 gets going

 Anyway, maybe we can discuss next week. I plan to take a crack at merging these myself too and then we can
 compare notes.

 Let's get this thing going. Looking forward to it, have a great weekend guys.

 Thanks,
 Matt



 On Aug 9, 2011, at 5:59 PM, "Flint Richardson" <flint@wsedge.biz> wrote:

 Hey Matt-

 Just wanted to circle back with you to ensure that you had received the servicing agreement that I had sent to you
 yesterday. Also - I wanted to see if it made sense to schedule another call to discuss the service agreement or
 work with someone with your company to merge this with the RAPE agreement? I would recommend that
 having your counsel (whichever attorney you want to use in-house or external) may help us expedite this
 process.

 Let us know what we can do to help.

 Flint


 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I

 <image003.jpg>
 *********************************************************************************************************************~
 This e-mail message ma, contain legall, pri,ileged and or confidential information. Ifnm are not the intended recipient( s ). or the emplo,ee or agent
 responsible for deli,er, of this message to the intended recipient(s). ,ou are hereb, notified that an, dissemination. distribution or cop,ing of this
 e-mail message is strict!, prohibited. Ifnm ha,e recei,ed this message in error. please immediate!, notif\ the sender and delete this e-mail message
 from ,our computer.

 IRS CIRCULAR 230 DISCLOSURE: To ensure compliance ,,ith Treasur, Department regulations. ,,e inform ,ou that an, U.S. federal tax ad,ice
 contained in this correspondence ( including an, attachments) is not intended or ,nitten to be used. and cannot be used. frlr the purpose of (i) anliding
 penalties that ma, be imposed under the U.S. Internal ReYenue Code or (ii) promoting. marketing or recommending to another part, an, transaction or
 matter addressed herein.



 The message does not contain any threats



CONFIDENTIAL                                                                                                                               ROS002-0000686
      Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 8 of 13 PageID# 22171
 AVG for MS Exchange Server (9.0.901 -271.1.1/3845)
 <image002.jpg>
 <image003 .j pg>
 <AVG certification.txt>




CONFIDENTIAL                                                                   ROS002-0000687
      Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 9 of 13 PageID# 22172



                                                                         LOAN AGREEMENT
      Disbursement Date: LOAN_EFFECTIVE_DATE                                               Type of Contract:         Loan # APPLICATION_NUMBER
      PaymentDate:    LOAN_DUE_DATE

                                                                                           Borrower Name: CUSTOMER_NAME
      Tribal Entity, LLC                                                                   Borrower Address : CUSTOMER_ADDRESS1
      DBA: PepperCash.com                                                                  CUSTOMER_ADDRESS2
      Address ....                                                                         Address: CUSTOMER_CITY, CUSTOMER_STATE
      Phone: 1-888-408-0151                                                                CUSTOMER_ZIP
      Email address: legal@PepperCash.com                                                  Phone: CUSTOMER_PHONE_NUMBER
                                                                                           Email address: CUST_EMAIL
      In this Loan Agreement (hereinafter, the "Loan Agreement", or "Agreement") the words "you", "your" and "I" mean the borrower who has electronically signed it.
      The words "we", "us" and "our" mean PepperCash.com. ("Lender").

      In order to complete your transaction with us, you must electronically sign this Loan Agreement by (a) entering your initials and (b) clicking the "I Agree" button at
      the end of the Loan Agreement. We will then approve or deny the Loan Agreement. If the Loan Agreement is approved, it will be consummated as of the
      Disbursement Date shown above. We will use commercially reasonable efforts to affect a credit entry by depositing the proceeds from this Loan Agreement into
      the bank account listed below in the ACH Authorization Section (your "Bank Account") on the Disbursement Date above. Unavoidable delays as a result of bank
      holidays, the processing schedule of your individual bank, the untimely receipt of borrower verification detail (if required), inadvertent processing errors, "acts of
      God", and/or "acts of terror" may extend the time for the deposit. In the event that the disbursement is delayed, the Disbursement Date will automatically adjust to
      reflect the date when proceeds entered your Bank Account. You will have the option of rescinding the Loan in accordance with the "RESCISSION" provision listed
      below, which describes, among other things, the time and manner within which notice of rescission must be given to be effective. Failure to give such notice as
      and when set out in the "RESCISSION" provision will be deemed to constitute acceptance by you of the delayed disbursement date and the revised terms of the
      Loan Agreement.

      All terms of this Agreement remain in full force and effect until all amounts owed to us by you are paid in full, including those associated with any renewal
      transactions, as described below.

      You promise to pay us the Total of Payments according to the terms of our disclosures set forth below on the date stated in the Payment Schedule below
      ("Payment Due Date"). You grant us a security interest in your ACH Authorization in the amount of the Total of Payments (the "ACH Authorization") which we may
      negotiate on the Payment Due Date or thereafter. You further promise to pay us all subsequent finance and other charges and fees in accordance with this
      Agreement. No interest, fees, or other charges are charged after the Payment Due Date except in the event of a "Late Charge", "Renewal", or "Workout" as
      explained below. All payments will be applied first to interest and then to principal. Both the amount of interest charged and rate thereof are set forth respectively in
      the Finance Charge and Annual Percentage Rate disclosures in this Agreement, which are subject to adjustment in the event of a delayed disbursement.

                                             U.S. FEDERAL TRUTH-IN-LENDING DISCLOSURES

             ANNUAL                                 FINANCE CHARGE                            Amount Financed                           Total of Payments
         PERCENTAGE RA TE

         The cost of your credit                      The dollar amount                     The amount of credit                     The amount you will
           as a yearly rate.                          the credit will cost                  provided to you or on                  have paid after you have
                                                             you.                                your behalf.                       made all payments as
                                                                                                                                         scheduled.

      )cALCULATED_APR¾) FINANCE_CHARGE                                                  I      LOAN_AMOUNT                         TOTAL_OF_PAYMENTS

       Your Payment Schedule will be:

       One Payment in the Amount of                                  TOTAL_OF_PAYMENTS                                   is due        LOAN_DUE_DA TE

      Security: You are giving us a security interest in the ACH Authorization.
      Prepayment: If you pay off early, you will not be entitled to a refund of the unearned portion of the
      finance charge.
      See the terms of this Loan Agreement for any additional information about nonpayment, default, and
      prepayment refunds.


     Itemization of Amount Financed: Amount given to you directly: LOAN_AMOUNT. Amount paid on
     Loan No. APPLICATION_NUMBER with us: $0.00.

     (1) THIS LOAN IS DESIGNED AS A SHORT-TERM CASH FLOW SOLUTION AND NOT DESIGNED
     AS A SOLUTION FOR LONGER TERM FINANCIAL PROBLEMS. (2) ADDITIONAL FEES MAY
     ACCRUE IF THE LOAN IS ROLLED OVER. (3) CREDIT COUNSELING SERVICES ARE




CONFIDENTIAL                                                                                                                                                     ROS002-0000688
     Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 10 of 13 PageID# 22173



     AVAILABLE TO CONSUMERS WHO ARE EXPERIENCING FINANCIAL PROBLEMS.
                                                          CONSENT TO ELECTRONIC COMMUNICATIONS

      The following terms and conditions govern electronic communications in connection with this Loan Agreement and the transaction evidenced hereby (the
      "Consent"). By electronically signing this Loan Agreement by clicking the "I AGREE" button below, you are confirming that you have agreed to the terms and
      conditions of the Consent and that you have downloaded or printed a copy of this Consent for your records. You agree that:

                 Any disclosure, notice, record or other type of information that is provided to you in connection with your transaction with us, including but not limited to,
      this Loan Agreement, this Consent, the Truth in Lending disclosures set forth in this Agreement, change-in-term notices, fee and transaction information,
      statements, delayed disbursement letters, notices of adverse action, and transaction information (collectively, "Communications"), may be sent to you electronically
      by posting the information at our web site, www.PepperCash.com, or by sending it to you by e-mail by us or any vendor/servicer contracted through us at any time.

                 We will not be obligated to provide any Communication to you in paper form unless you specifically request us to do so.

                You may obtain a copy of any Communication by contacting us at legal@PepperCash.com or by calling us at 1-888-408-0151 You also can withdraw
      your consent to ongoing electronic communications in the same manner, and ask that they be sent to you in paper or non-electronic form.

                 You agree to provide us with your current e-mail address for notices at the email address indicated above. If your e-mail address, telephone number(s),
      or residence address changes, you must send us a notice of the new address/telephone number(s) by sending us an e-mail, using secure messaging, at least five
      (5) days before the change.

                 In order to receive electronic communications in connection with this transaction, you will need a working connection to the Internet. Your browser must
      support the Secure Sockets Layer (SSL) protocol. SSL provides a secure channel to send and receive data over the Internet through HS encryption capabilities.
      Netscape 4.7+ and above and Microsoft Internet Explorer 5.01+ and above support this feature. You will also need a printer connected to your computer to print
      disclosures/notices. We do not provide ISP services. You must have your own Internet Service Provider.

                 We may amend (add to, delete or change) the terms of this Consent to Electronic Communications by providing you with advance notice.

               You agree that you are able to view and/or electronically store the information presented at this website. You also agree to print and retain a copy of this
      Agreement and Consent to Electronic Communications for your records.

      SECURITY: We have disclosed to you that our interest in the ACH Authorization is a security interest as a courtesy only, because Costa Rica law does not clearly
      address whether our interest in the ACH Authorization is a "security interest"

      PAYMENT OPTIONS: Your Total of Payments will be due on the Payment Due Date. If you do not wish to pay the Total of Payments on your Payment
      Due Date, you must select your payment option at least three (3) banking business days prior to your Payment Due Date by contacting us at 1-888-408-
      0151. At that time, you may choose:

           (a)   Payment in full: You may pay the Total of Payments shown above, plus any accrued fees, to satisfy your loan in full. When you contact us
                 and choose this option, we will debit your Account for the Total of Payments plus any accrued fees, in accordance with the ACH
                 Authorization below; OR
           (b)   Renewal: You may renew your loan (that is, extend the Payment Due Date of your loan until your next Pay Date 1) by authorizing us to debit
                 your Account for the amount of the Finance Charge, plus any accrued fees. If you choose this option, your new Payment Due Date will be
                 your next Pay Date', and the rest of the terms of this Agreement will continue to apply.

      AUTO-RENEWAL: If you fail to contact us to confirm your Payment Option, or otherwise fail to pay the loan in full on any Payment Due Date,
      PepperCash.com may automatically renew your loan as described under (b) above, and debit your Bank Account on the Payment Date or thereafter for
      the Finance Charge and any accrued fees. Your new Payment Due Date will be your next Pay Date 1, and the rest of the terms of this Agreement will
      continue to apply. You must contact us 3 banking business days prior to your new Payment Due Date to confirm your payment option for the Renewal
      Transaction. If you fail to contact us, or otherwise fail to pay the loan in full on your new Payment Due Date, we may automatically renew the loan until
      your next Pay Date. 1 You may obtain up to 5 Renewals in addition to the initial loan transaction. All terms of this Agreement continue to apply to
      Renewal Transactions. All Renewals are subject to Lender's approval. If you choose to renew your loan for any additional period after the Payment
      Due Date, you will be charged the Finance Charge disclosed above for each "Loan Period" in which the Loan remains outstanding. If your Renewal is
      approved, your existing loan will be extended to a one Loan Period loan (10 - 24 day term) payment schedule and you will pay the finance charge of
      $35 per $100 of principal owed on the next Payment Due Date. You will accrue new finance charges with every Renewal of this loan.

      AUTO-WORKOUT: Unless you contact us to confirm your option for Payment in Full prior to your 5th Renewal Payment Due Date, your loan will
      automatically be placed into a Workout Payment Plan. Under the Workout Payment Plan, your Account will automatically be debited on your Pay Date 1
      for accrued finance charges plus a principal payment of $25 until the loan principal amount owed reaches $25 or less. When your amount owed
      reaches $25 or less, we will debit the remaining amount of principal, plus additional finance charges, on your next pay date 1. This does not limit any of
      Lender's other rights under the terms of this Agreement. All Workout Payment Plans are subject to Lender's approval.
      RETURNED ITEM FEE: You agree to pay an insufficient fund fee of $30 if an item in payment of what you owe is returned unpaid, or if an ACH debit entry, the
      authorization for which was not properly revoked by you, is rejected by your bank for any reason. If your payment is returned unpaid, you authorize us to make a
      one-time electronic funds transfer from your account to collect the returned item charge of $30.
      LATE CHARGE: If your scheduled payment is late more than fifteen (15) days after its due date, we will effect a debit entry to Your Account, a Late Charge of $30
      will be assessed to your account.
      TELEPHONE COMMUNICATIONS/MESSAGING: You authorize us, our assigns, successors or our servicing agents to send a SMS text message to you at any
      mobile number at which we reasonably believe we can contact you, for any lawful purpose, including but not limited to: (1) suspected fraud or identity theft; (2)
      obtaining information necessary for us to service your account; (3) collecting on your account; (4) notifying you as to important issues regarding your account, or
      (5) and other purpose. Telephone numbers you authorize us, our assigns, successors or our servicing agents to text message to include any numbers provided to
      us, our assigns, successors or our servicing agents and numbers from which you call us, our assign, successors or our servicing agents. You agree to pay any
      fee(s) or charge(s) that you may incur for incoming and outgoing messages from or to us or our assigns, successors, or our servicing agents, without
      reimbursement from us or them." You authorize us, our assigns, successors or servicing agents to send recorded messages to any phone numbers provided to us,
      our assigns, successors or service agents.


      1 The term "Pay Date" refers to the next time following the Payment Due Date, that you receive regular wages or salary from your employer. Because Renewal
      transactions are for at least ten (10) days, if you are paid weekly, your loan will be Renewed until the next Pay Date that is at least fourteen days after the prior
      Payment Date.




CONFIDENTIAL                                                                                                                                                     ROS002-0000689
     Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 11 of 13 PageID# 22174



      INCOME VERIFICATION: You authorize PepperCash.com to verify your past and/or present employment history and income as may be necessary to process
      your Loan. The employment and/or income verification that PepperCash.com obtains is only to be used in the processing of your application for a Loan.
      Furthermore, you represent that you are not a debtor under any proceeding in bankruptcy and have no intention to file a petition for relief under any chapter of the
      United States Bankruptcy Code.

      ACH AUTHORIZATION: You hereby voluntarily authorize us, and our successors and assigns, to initiate automatic credit and debit entries to your Bank Account:
      Bank Routing Number CUSTOMER_ABA_NUMBER and Bank Account Number CUSTOMER_BANK_ACCOUNT_NUMBER, in accordance with this Agreement

      You agree that we will initiate a credit entry to your Bank Account for the Amount Financed on or about the Disbursement Date.

      You also authorize us to initiate an ACH debit entry to Your Bank Account:
           (a) For the Total of Payments plus any accrued fees on the Payment Due Date, or on any subsequent Renewal Payment Due Date, if you contact us and
                select Payment Option (a) above;
           (b) For the Finance Charge plus any accrued fees on the Payment Due Date, or on any subsequent Renewal Payment Due Date, if you contact us and
                select Payment Option (b) above, or if you fail to contact us to confirm your payment option;
           (c) For the accrued finance charges and fees, plus $25.00 on each Pay Date 1 after the 5th Renewal Payment Due Date, until the loan principal amount
                owed reaches $25 or less. When your principal amount owed reaches $25 or less, you authorize us to debit the remaining amount of principal, plus
                any additional fees and finance charges, on your next pay date 1 , and
           (d) For any accrued Late Fees or Returned Payment charges, subject to this Agreement

      You agree that we may re-initiate a debit entry for the same amount if the ACH debit entry is dishonored or payment is returned for any reason. The ACH
      Authorizations set forth in this Agreement are to remain in full force and effect for this transaction until your indebtedness to us for the Total of Payments, plus any
      other charges or fees incurred and described in this Agreement, is fully satisfied. You may only revoke the above authorizations by contracting us directly at least
      three (3) business days prior to the Payment Due Date. If you revoke your authorization, you agree to provide us with another form of payment acceptable to us.

      If any payment is returned unpaid, you authorize us to make a one-time electronic fund transfer from your account to collect a fee of $30. If your loan is over 15
      days late, you will be assessed a late fee of $30. You voluntarily authorize us, and our successor and assigns, to initiate a debit entry to your Bank Account for
      payment of this fee. You further authorize us to initiate debit entries as necessary to recoup the outstanding loan balance whenever an ACH transaction is
      returned to us for any reason. If your payment is returned to us by your financial institution due to insufficient funds or a closed account, you agree that we also
      may recover court costs and reasonable attorney's fees incurred by us.

      You understand and agree that this ACH authorization is provided for your convenience, and that you have authorized repayment of your loan by ACH debits
      voluntarily. You agree that you may repay your indebtedness through other means (i.e. money order) by providing timely payment, or through the Credit/Debit
      Card Authorization provided below.

      You authorize us to verify all of the information that you have provided, including past and/or current information. You agree that the ACH Authorization herein is
      for repayment of a single payment loan, or for single payment of finance charges for Renewal transactions, and that these entries shall not recur at substantially
      regular intervals. If there is any missing or erroneous information in or with your loan application regarding your bank, bank routing and transit number, or account
      number, then you authorize us to verify and correct such information.

      CREDIT/DEBIT CARD AUTHORIZATION: By signing this document below, you authorize us, and our successors or assigns, to charge any amounts owing under
      this Agreement to any credit/debit card that you provide to us for such purpose, in the event that any ACH debit entry, or other payment method, is returned unpaid
      for any reason. This authorization will remain in full force and effect until either (1) all obligations under this Agreement have been satisfied or (2) it is cancelled, in
      writing, in such time as to give us and the card issuer reasonable opportunity to act upon it Such cancellations shall be emailed to legal@PepperCash.com or
      faxed to 214-446-6314. If you choose to cancel this authorization, you agree to provide another payment method acceptable to us in our sole discretion.

      RESCISSION: You may rescind future payment obligations under this Loan Agreement, without cost or finance charges, no later than 5:00 p.m. EST of the next
      business day immediately following the Disbursement Date ("Rescission Deadline"). To rescind future payment obligations on this loan, you must inform us in
      writing, by or before the Rescission Deadline by email to support@PepperCash.com or by fax to 214-446-6314 that you want to cancel the future payment
      obligations on this loan and that you authorize us to effect a debit entry to Your Account for the principal amount of the Loan Agreement In the event that we
      timely receive your written notice of rescission on or before the Rescission Deadline but before the loan proceeds have been credited to Your Account, we will not
      effect a debit entry to Your Account and both ours and your obligations under this Loan Agreement will be rescinded. In the event that we timely receive your
      written notice of rescission on or before the Rescission Deadline but after the loan proceeds have been credited to Your Account, we will effect a debit to Your
      Account for the principal amount of the Loan Agreement If we receive payment of the principal amount via the debit, ours and your obligations under this Loan
      Agreement will be rescinded. If we do not receive payment of the principal amount via the debit, then the Loan Agreement will remain in full force and effect

      PREPAYMENT: At any time after the Rescission Deadline defined above, you can prepay your obligations partially or in full before the Payment Date by sending
      us an email to the address and number referenced above informing us that you want to make a prepayment and giving us written authorization to effect a debit
      entry to your Bank Account for the prepayment If we receive the prepayment via the debit, it will be applied first to fees and then to principal. Please be advised
      that by paying your loan off early you will not be entitled to a rebate of the unearned portion of your Finance Charge.

      BANKRUPTCY: You certify to us that you are not a debtor under any proceeding in bankruptcy and have no intention to file a petition for relief under any chapter
      of the United States Bankruptcy Code.

      CONSUMER REPORTS: You authorize us to obtain consumer reports about you prior to issuing a loan to you under this Agreement, and at any time that you owe
      us money under this or any other Loan Agreement We may report information about your account to credit bureaus. Late payments, missed payments, or other
      defaults on your account may be reflected in your credit report

      CHECKS: If you provide a check as payment, you authorize us either to use information from your check to make a one-time electronic fund transfer from your
      account or to process the payment as a check transaction. When we use information from your check to make an electronic funds transfer, funds may be
      withdrawn from your account as soon as the same day we receive your payment, and you will not receive your check back from your financial institution. You also
      authorize us to collect a fee of $30 through an electronic fund transfer from your account if your payment is returned unpaid.

      COLLECTION AND USE OF BANK ACCOUNT INFORMATION FOR PURPOSES OF COLLECTING LOAN PAYMENTS: If we extend credit to you, we will
      consider the bank account information provided by you as eligible for us to process payments against. In addition, as part of our information collection process, we
      may detect additional bank accounts under your ownership. You agree that we will consider these additional accounts to be part of the application process and
      eligible for payment retrieval.

      DEFAULT, GOVERNING LAW, ASSIGNMENT AND EXECUTION You will be in default under this Agreement if (a) you provide false or misleading information
      about yourself, your employment, or your financial condition (including the bank account on which the electronic debit is drawn) prior to entering this Agreement,
      (b) you fail to make a payment by the Due Date or if your payment is returned to us unpaid for any reason, or (c) any of the following things occur: appointment of
      a committee, receiver, or other custodian of any of your property, or the commencement of a case under the U.S. Federal Bankruptcy Laws by or against you as a




CONFIDENTIAL                                                                                                                                                        ROS002-0000690
     Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 12 of 13 PageID# 22175



      debtor. This Agreement will be governed by the laws of Costa Rica, except that the arbitration provision is governed by Costa Rica's Law on Alternate Conflict
      Resolution and the Promotion of Social Peace (Law 7727, Article 18), and the New York Convention on the Recognition and Enforcement of Foreign Arbitral
      Awards, as adopted by the United Nations Conference on International Commercial Arbitration. We may assign or transfer this Agreement or any of our rights
      hereunder. If this Agreement is consummated, then you agree that the electronically signed Agreement we receive from you will be considered the original
      executed Agreement, which is binding and enforceable as to both parties.

      WAIVER OF JURY TRIAL AND ARBITRATION PROVISION: Arbitration is a process in which persons with a dispute (a) waive their rights to file a lawsuit and
      proceed in court and to have a jury trial to resolve their disputes; and (b) agree, instead, to submit their disputes to a neutral third person (an 'arbitrator') for a
      decision. Each party to the dispute has an opportunity to present some evidence to the arbitrator. Pre-arbitration discovery may be limited. Arbitration proceedings
      are private and less formal than court trials. The arbitrator will issue a final and binding decision resolving the dispute, which may be enforced as a court judgment.
      A court rarely overturns an arbitrator's decision. We have a policy of arbitrating all disputes with customers, including the scope and validity of this Arbitration
      Provision and any right you may have to participate in an alleged class action. THEREFORE, YOU ACKNOWLEDGE AND AGREE AS FOLLOWS

      1 For purposes of this Waiver of Jury Trial and Arbitration Provision, the words "dispute" and "disputes" are given the broadest possible meaning and include,
      without limitation (a) all claims, disputes, or controversies arising from or relating directly or indirectly to the signing of this Arbitration Provision, the validity and
      scope of this Arbitration Provision and any claim or attempt to set aside this Arbitration Provision; (b) all U.S. federal or state law claims, disputes or controversies,
      arising from or relating directly or indirectly to the Agreement, the information you gave us before entering into the Agreement, including the customer information
      application, and/or any past Agreement or Agreements between you and us; (c) all counterclaims, cross-claims and third-party claims; (d) all common law claims,
      based upon contract, tort, fraud, or other intentional torts; (e) all claims based upon a violation of any state or federal constitution, statute or regulation; (f) all claims
      asserted by us against you, including claims for money damages to collect any sum we claim you owe us; (g) all claims asserted by you individually against us
      and/or any of our employees, agents, directors, officers, shareholders, governors, managers, members, parent company or affiliated entities (hereinafter
      collectively referred to as "related third parties"), including claims for money damages and/or equitable or injunctive relief; (h) all claims asserted on your behalf by
      another person; (i) all claims asserted by you as a private attorney general, as a representative and member of a class of persons, or in any other representative
      capacity, against us and/or related third parties (hereinafter referred to as "Representative Claims"); and/or U) all claims arising from or relating directly or indirectly
      to the disclosure by us or related third parties of any non-public personal information about you.

      2. You acknowledge and agree that by entering into this Arbitration Provision:
      (a) YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES;
      (b) YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES; and
      (c) YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER
      REPRESENTATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US AND/OR
      RELATED THIRD PARTIES.

      3. All disputes including any Representative Claims against us and/or related third parties shall be resolved by binding arbitration only on an individual basis with
      you. THEREFORE, THE ARBITRATOR SHALL NOT CONDUCT CLASS ARBITRATION; THAT 15, THE ARBITRATOR SHALL NOT ALLOW YOU TO SERVE
      AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE
      ARBITRATION.

      4. Any party to a dispute, including related third parties, may send the other party written notice by certified mail return receipt requested of their intent to arbitrate
      and setting forth the subject of the dispute along with the relief requested. All disputes arising out of or in connection with this Agreement shall be finally settled
      under the Rules of Arbitration of the International Chamber of Commerce by one or more arbitrators appointed in accordance with the said Rules. You may obtain
      a copy of the rules and procedures by contacting the arbitration organization listed above.

      5. Regardless of who demands arbitration, at your request we will advance your portion of the arbitration expenses, including the filing, administrative, hearing and
      arbitrator's fees ("Arbitration Fees"). Throughout the arbitration, each party shall bear his or her own attorneys' fees and expenses, such as witness and expert
      witness fees. The arbitrator shall apply applicable substantive law consistent with Costa Rica's Law on Alternate Conflict Resolution and the Promotion of Social
      Peace (Law 7727, Article 18), and applicable statutes of limitation, and shall honor claims of privilege recognized at law. The arbitration hearing will be conducted
      by telephone via a toll-free conference line at a mutually convenient time, and Lender will pay the telephone costs for you. The arbitrator may decide, with or
      without a hearing, any motion that is substantially similar to a motion to dismiss for failure to state a claim or a motion for summary judgment. In conducting the
      arbitration proceeding, the arbitrator shall not apply any federal or state rules of civil procedure or evidence. If allowed by Costa Rica statute or applicable Costa
      Rica law, the arbitrator may award statutory damages and/or reasonable attorneys' fees and expenses. If the arbitrator renders a decision or an award in your
      favor resolving the dispute, then you will not be responsible for reimbursing us for your portion of the Arbitration Fees, and we will reimburse you for any Arbitration
      Fees you have previously paid. If the arbitrator does not render a decision or an award in your favor resolving the dispute, then the arbitrator shall require you to
      reimburse us for the Arbitration Fees we have advanced, not to exceed the amount which would have been assessed as court costs if the dispute had been
      resolved by a Costa Rica court with jurisdiction, less any Arbitration Fees you have previously paid. At the timely request of any party, the arbitrator shall provide a
      written explanation for the award. The arbitrator's award may be filed with any court having jurisdiction.

      6. This Arbitration Provision is made pursuant to a transaction involving international commerce.

      7. This Arbitration Provision is binding upon and benefits you, your respective heirs, successors and assigns. This Arbitration Provision is binding upon and
      benefits us, our successors and assigns, and related third parties. This Arbitration Provision continues in full force and effect, even if your obligations have been
      paid or discharged through bankruptcy. This Arbitration Provision survives any cancellation, termination, amendment, expiration or performance of any transaction
      between you and us and continues in full force and effect unless you and we otherwise agree in writing. If any of this Arbitration Provision is held invalid, the
      remainder shall remain in effect.

      Your right to file suit against us for any claim or dispute regarding this Agreement is limited by the WAIVER OF JURY TRIAL AND ARBITRATION
      PROVISION.

      You may choose to opt out of this Arbitration Provision but only by following the process set forth below. If you do not wish to be subject to this Arbitration
      Provision, then you must notify us in email within forty-five (45) calendar days of the date of this Agreement at the following address: legal@PepperCash.com.
      Your written notice must include your name, address, social security number, the date of this Agreement, a statement that you wish to opt out of the Arbitration
      Provision, and must not be sent with any other correspondence. Indicating your desire to opt-out of this Arbitration Provision in any manner other than as provided
      above is insufficient notice. Your decision to opt out of this Arbitration Provision will not affect your other rights or responsibilities under this Agreement, and applies
      only to this Arbitration Provision and no prior or subsequent Arbitration Provision to which you and we have agreed.

      PRIVACY POLICY:
      By signing this Agreement, you agree to PepperCash.com's Privacy Policy as stated on PepperCash.com's website at the following link:
      https ://PepperCas h.com/P rivacy.aspx

      BY ENTERING IN YOUR INITIALS AND CLICKING THE "I AGREE" BUTTON BELOW, YOU ARE ELECTRON/CALLY SIGNING THIS AGREEMENT. BY
      ELECTRON/CALLY SIGNING THIS AGREEMENT. YOU AGREE THAT THIS ELECTRONIC SIGNATURE HAS THE FULL FORCE AND EFFECT OF YOUR
      PHYSICAL SIGNATURE AND THAT IT BINDS YOU TO THIS AGREEMENT IN THE SAME MANNER A PHYSICAL SIGNATURE WOULD DO SO. YOU
      CERTIFY THAT THE INFORMATION GIVEN IN CONNECTION WITH THIS AGREEMENT 15 TRUE AND CORRECT. YOU AUTHORIZE PEPPERCASH.COM




CONFIDENTIAL                                                                                                                                                           ROS002-0000691
     Case 3:17-cv-00461-REP Document 784-12 Filed 06/17/20 Page 13 of 13 PageID# 22176



      TO VERIFY THE INFORMATION GIVEN IN CONNECTION WITH THIS AGREEMENT AND GIVE PEPPERCASH.COM CONSENT TO OBTAIN INFORMATION
      ON YOU FROM A CONSUMER REPORTING AGENCY OR OTHER SERVICE. YOU ACKNOWLEDGE THAT (AJ YOU HAVE READ, UNDERSTAND, AND
      AGREE TO ALL OF THE TERMS AND CONDITIONS OF THIS AGREEMENT INCLUDING THE WAIVER OF JURY TRIAL AND ARBITRATION PROVISION
      AND THE PRIVACY POLICY, (BJ THIS AGREEMENT CONTAINS ALL OF THE TERMS OF THE AGREEMENT AND THAT NO REPRESENTATIONS OR
      PROMISES OTHER THAN THOSE CONTAINED IN THE AGREEMENT HAVE BEEN MADE, (CJ THIS AGREEMENT WAS FILLED IN BEFORE YOU SIGNED
      IT, AND (DJ THAT YOU HA VE PRINTED OR DOWNLOADED A COMPLETED COPY OF THIS AGREEMENT FOR YOUR RECORDS. YOU FURTHER
      ACKNOWLEDGE THAT PEPPERCASH.COM MAY WITHHOLD FUNDING OF YOUR LOAN AT ANY TIME PRIOR TO DISBURSEMENT SUBJECT TO
      VER/FICA TION OF APPL/CATION INFORMATION.

      By signing below you agree that we will initiate ACH debits and credits to Your Bank Account as described under the ACH Authorization above. You
      agree that the debit entries authorized herein are for repayment of a single payment loan and shall not recur at substantially regular intervals. You
      agree that this ACH Authorization is subject to our approval of the Loan Agreement.

      By signing below you agree that your loan may be renewed up to five times as described under AUTO-RENEWAL above, without additional notice to
      you. You also agree that your loan may be subject to the Workout Payment Plan after the Fifth Renewal Transaction, as described under AUTO-
      WORKOUT above. You authorize us to initiate debit entries to Your Bank Account for Renewal and Workout transactions as described above. You
      agree that you will receive no prior notice of Renewal and/or Workout plan payments, unless the amount of the payment is greater than $1300.

      By signing below you authorize us to verify all of the information that you have provided, including past and/or current information. You certify that
      you have made or will make all payments on any previous loans with Lender, and you agree that that Lender may cancel this loan if any payment on
      previous loans is not made or is returned unpaid. You agree that we may obtain information about you and your Account from your Bank and/or
      consumer reporting agencies and other services until all amounts owing pursuant to this Agreement are paid-in-full. If there is any missing or
      erroneous information in or with your loan application regarding your bank, bank routing number, or account number, then you authorize us to verify
      and correct such information.

      By signing below you agree that your loan may be renewed up to five times as described under AUTO-RENEWAL above, without additional notice to
      you.

      By signing below you warrant that you ARE NOT a regular or reserve member of the U.S. Military, including the Army, Navy, Marine Corps, Air Force, or
      Coast Guard, serving on active duty under a call or order that does not specify a period of 30 days or fewer (or a dependent of such a member).

      Initial below and click "I AGREE" to electronically sign this Agreement:

      Lender: PepperCash.com

      Borrower's E-Signature: 1517 ESIGNATURE 1

      Borrower Initials:
      First Name:                               Last Name:                        SSN #                                 Date:
      CUSTOMER_FIRST_NAME                       CUSTOMER_LAST_NAME                CUSTOMER_SSN                          APPLICATION_DATE




CONFIDENTIAL                                                                                                                                   ROS002-0000692
